Case 9:21-cv-80828-WPD Document 17 Entered on FLSD Docket 06/16/2021 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                                        Case No.: 21-cv-80828-WPD
  KIM S. SULLIVAN a/k/a
  KIMBERLY S. SULLIVAN, individually
  and on behalf of those similarly situated
         Plaintiff,
  v.
  BANK OF AMERICA, N.A., and
  SAFEGUARD PROPERTIES
  MANAGEMENT, LLC,
       Defendants.
                                   /

   ORDER GRANTING JOINT MOTION FOR EXTENSION OF TIME AND APPROVAL
        OF STIPULATED BRIEFING SCHEDULE ON MOTIONS TO DISMISS

         THIS CAUSE is before the Court on the Parties’ Joint Motion for Extension of Time and

  Approval of Stipulated Briefing Schedule on Motions to Dismiss, filed June 15, 2021. [DE 16].

  The Court has carefully considered the Motion and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. The parties’ Motion [DE 16] is GRANTED. The Parties’ stipulated briefing schedule

              is approved as follows:

         a.      Defendant Safeguard Property Management’s response to Plaintiff’s putative Class
                 Action Complaint will be submitted on or before July 16, 2021, the current deadline
                 for Defendant Bank of America, N.A.’s response;

         b.      Plaintiff’s response briefs to the Defendants’ responses to Plaintiff’s putative Class
                 Action Complaint are due on or before August 30, 2021; and

         c.      Defendants’ reply briefs regarding Defendants’ responses to Plaintiff’s putative
                 Class Action Complaint are due on or before September 29, 2021.

         DONE AND ORDERED in Chambers at Ft. Lauderdale, Florida on this 16th day of

  June, 2021.
Case 9:21-cv-80828-WPD Document 17 Entered on FLSD Docket 06/16/2021 Page 2 of 2




  Copies furnished to:

  Counsel of record




                                       2
